Case: 1:24-cv-00658 Document #: 33 Filed: 04/03/24 Page 1 of 3 PageID #:372


                                                                     FIL/2E0D
                                                                            24
                                                                                          KSR
                       IN THE UNITED STATES DISTRICT COURT
                                                                           4/3
                                                                    . BRUTO    N
                                                          THOMA.SDG
                                                                  IS T R IC T COURT
                                                       CLERK, U.S
                            NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  Zafar Sheikh                                         )
                                                       )
         Plaintiff                                     )
                                                       )
         vs.                                           )       Case No. 1:24-cv-00658
                                                       )
  Bashir Chaudry, Bushra Naseer, Junaid                )
                                                       )
  Ahmad, Ali Chaudry, Rabia Chaudry,                   )       Hon. Judge Martha Pacold
                                                       )
  Yakub Chaus dba Yakub Chaus & Co.,                   )
                                                       )
  Shamaila Rafiq, Amjad Chaudry                        )
                                                       )
  Syed Jahantab, South Chicago One Inc.                )
                                                       )
  BCA Investments Inc., Congress & Pulaski             )
                                                       )
  Real Estate LLC., Nusrat Chaudry, Qadir’s            )
                                                       )
  LLC, Zahdan Ahmed & his designated entity            )
                                                       )
  John Doe                                             )


                                        STATUS REPORT


         NOW COMES THE PLAINTIFF Zafar Sheikh and updates his Status Report as

  to service on defendants. One defendant Hasan Safiuddin has not been served as yet.

  Numerous attempts were made by the process server to serve Mr. Safiuddin at his place

  of abode, but residents, who are presumed to be inside, fail to answer the door.




                                           1
Case: 1:24-cv-00658 Document #: 33 Filed: 04/03/24 Page 2 of 3 PageID #:373




  / S / Zafar Sheikh
  Zafar Sheikh/Plaintiff
  4619 Herzog Street
  Austin. TX. 78723.
  Zafarsheikh313@aol.com
  (847) 414-9670




                                    2
Case: 1:24-cv-00658 Document #: 33 Filed: 04/03/24 Page 3 of 3 PageID #:374




                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

  Zafar Sheikh                                          )
                                                        )
         Plaintiff                                      )
                                                        )
         vs.                                            )       Case No. 1:24-cv-00658
                                                        )
  Bashir Chaudry, Bushra Naseer, Junaid                 )
                                                        )
  Ahmad, Ali Chaudry, Rabia Chaudry,                    )       Hon. Judge Martha Pacold
                                                        )
  Yakub Chaus dba Yakub Chaus & Co.,                    )
                                                        )
  Shamaila Rafiq, Amjad Chaudry                         )
                                                        )
  Syed Jahantab, South Chicago One Inc.                 )
                                                        )
  BCA Investments Inc., Congress & Pulaski              )
                                                        )
  Real Estate LLC., Nusrat Chaudry, Qadir’s             )
                                                        )
  LLC, Zahdan Ahmed & his designated entity             )



                                    NOTICE OF FILING

  I, Zafar Sheikh, Plaintiff in this Cause do hereby updates his Status Report on the 3 rd of

  April, 2024.



  / S / Zafar Sheikh
  Zafar Sheikh/Plaintiff
  4619 Herzog Street,
  Austin. TX. 78723.
  (847) 414-9670
  Zafarsheikh313@aol.com




                                            3
